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 5
 6
                              UNITED STATES DISTRICT COURT
 7
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,                      SA CR No. 19-061-JVS
10               Plaintiff,                         DEFENDANT’S MOTION FOR AN
                                                    ORDER TO SHOW CAUSE RE CIVIL
11                      v.                          CONTEMPT AND A FINDING OF
                                                    CONTEMPT
12   MICHAEL JOHN AVENATTI,
                                                    [[Proposed] Order and Declaration of H.
13               Defendant.                         Dean Steward filed concurrently herewith]
14
15
16         TO ACTING U.S. ATTORNEY TRACY WILKINSON, AUSA BRANDON
17   FOX, AUSA ALEXANDER WYMAN and AUSA BRETT SAGEL, PLEASE TAKE
18   NOTICE that Defendant MICHAEL JOHN AVENATTI (“Mr. Avenatti”) by and
19   through his counsel of record, H. Dean Steward, hereby moves for and files his Motion
20   For An Order To Show Cause Re Civil Contempt and A Finding of Contempt as to why
21   the government should not be held in civil contempt for their failure to comply with the
22   Court’s January 25, 2021 Order [Dkt. 408], followed by a finding of contempt.
23   Defendant’s motion is based on the attached memorandum of points and authorities; the
24   Declaration of H. Dean Steward filed concurrently herewith; the files, records and
25   transcripts in this case; the reply to be filed by the defendant in response to the
26   government’s opposition; and such further evidence and argument as the Court may
27   permit at a hearing on this matter.
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 1
      Dated: March 8, 2021                 Respectfully submitted,
 2
                                           /s/ H. Dean Steward
 3                                          H. DEAN STEWARD
 4                                         Attorney for Defendant
                                           MICHAEL JOHN AVENATTI
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 1                   MEMORANDUM OF POINTS AND AUTHORITIES
 2
 3   I.    INTRODUCTION
 4         The government has a crushing 95% or higher conviction rate.1 It is virtually
 5   impossible to defend successfully when the might and power of the federal government
 6   focuses on the destruction of an individual, and the government holds all the cards. The
 7   rule of Brady v. Maryland, requiring the government to disclose evidence favorable to
 8   the defense, is likely the single most important underpinning of Due Process for a
 9   criminal defendant—yet it is often observed only in the breach. Brady v. Maryland, 373
10   U.S. 83 (1963). While prosecutors routinely recite their full knowledge of and
11   compliance with their Brady obligations as window dressing, in truth they often scoff at
12   them and continue to play games to win convictions at all costs. Meanwhile, the defense
13   does not know what the defense does not know.
14         This problem was demonstrated dramatically in the prosecution of United States
15   Senator Ted Stevens, another high-profile political target (a Republican Senator who had
16   served for over four decades). In fact, it was the prosecutorial misconduct in that case
17   that led to the passage and implementation of the Due Process Protection Act, P.I. No.
18   116-182, 134 Stat. Ann. 894 (the “Act”). The purpose of the Act is to protect defendants
19   from prosecutorial misconduct and overreach by federal prosecutors.
20         Following Senator Stevens’ conviction by a jury, multiple U.S. Attorneys were
21   found to have failed to timely produce to the defense witness statements and other
22
     1
       This is one of the reasons, as the Honorable Jed S. Rakoff (USDJ) wrote, “Why Innocent
23   People Plead Guilty.” Jed S. Rakoff, Why Innocent People Plead Guilty, N.Y. REV. OF
     BOOKS (Nov. 20, 2014), http://www.nybooks.com.mutex.gmu.edu/articles/2014/11/20/why-
24
     innocent-people-plead-guilty/ (“How prevalent is the phenomenon of innocent people pleading
25   guilty? The few criminologists who have thus far investigated the phenomenon estimate that the
     overall rate for convicted felons as a whole is between 2 percent and 8 percent. . . . let us
26   suppose that it is even lower, say, no more than 1 percent. When you recall that, of the 2.2
27   million Americans in prison, over 2 million are there because of plea bargains, we are then
     talking about an estimated 20,000 persons, or more, who are in prison for crimes to which they
28   pleaded guilty but did not in fact commit.”).
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 1   evidence that could have been used to impeach key government witnesses at trial. A
 2   Department of Justice investigation later ensued during which the U.S. Attorneys
 3   involved attempted to justify their actions by claiming that the statements and documents
 4   withheld did not constitute information that could be used to impeach a witness, were
 5   immaterial, and therefore were not obligated to be disclosed in advance of trial. The
 6   investigation found otherwise.2 Among other things, the investigation uncovered
 7   falsification of various 302s and withholding of notes from witness interviews. Various
 8   U.S. Attorneys were rightly disciplined and forced to resign in disgrace, and the
 9   government was forced to dismiss the indictment against Senator Stevens before severe
10   judicial sanctions occurred.
11         On January 18, 2021, concerned that the government had not complied with its
12   various discovery obligations in this case, Defendant Michael John Avenatti (“Mr.
13   Avenatti”) moved this Court for an order requiring the government to produce certain
14   discovery to the defense. [Dkt. 398]. On January 25, 2021, over the government’s
15   objection, this Court granted the motion and issued an Order directing the government to
16   produce to the defense “all information or evidence known to the government that is
17   either: (1) relevant to the defendant’s guilt or punishment; or (2) favorable to the
18   defendant on the issue of guilt or punishment.” (emphasis added). [Dkt. 408 (the
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20   2
       “The investigation and prosecution of U.S. Senator Ted Stevens were permeated by the
21
     systematic concealment of exculpatory evidence that would have independently
     corroborated Senator Stevens’s defense and his testimony, and seriously damaged the testimony
22   and credibility of the government’s key witness. Months after the trial, when a new team of
     prosecutors discovered, in short order, some of the exculpatory information that had been
23   withheld, the Department of Justice (“DOJ”) moved to set aside the verdict and to dismiss the
24   indictment with prejudice. New prosecutors were assigned after U.S. District Judge Emmet G.
     Sullivan held two of the previous prosecutors in contempt for failing to comply with the Court’s
25   order to disclose information to Senator Stevens’s attorneys and to the Court regarding
     allegations of prosecutorial misconduct which were made after trial by an FBI agent who had
26
     worked on the case.” Report to Hon. Emmet G. Sullivan of Investigation Conducted Pursuant to
27   the Court’s Order dated Apr. 7, 2009 (“Schuelke Report”) at 1, In re Special Proceedings, No.
     09-mc-00198-EGS, (D.D.C. Nov. 14, 2011).
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 1   “Order”).] The Order is neither discretionary nor optional. It is not unclear or open to
 2   misinterpretation, purposeful or otherwise. It is, and always has been, a clear ORDER of
 3   this Court. Further, at no time since the issuance of the Order six weeks ago has the
 4   government sought any reconsideration or “clarification” of the Order.
 5         Unfortunately, despite the Order’s unambiguous directives and a subsequent
 6   detailed written request by the defense directed to Mr. Brandon Fox, the Chief of the
 7   Criminal Division of the Central District, the government has not complied with the
 8   Order. See H. Dean Steward Declaration in Support of Defendant’s Motion for an Order
 9   to Show Cause Re Civil Contempt and a Finding of Contempt (the “Steward Decl.”), ¶¶
10   2-13. Nor has the government learned anything from the rebukes in Stevens. The very
11   reason this Court adopted the Order was to impress upon the prosecutors their most
12   solemn obligations and to enable the contempt process to address the government’s
13   failure to comply, rather than leaving openings for any excuses or being hamstrung to
14   consider criminal contempt charges as it was in Stevens by the absence of a preexisting
15   order. While the defense does not yet request consideration of criminal contempt
16   charges, the failure of the government to comply with its obligations under the Order is
17   ripe for a finding of civil contempt. Accordingly, this Court should (i) issue an order to
18   show cause why the government should not be held in civil contempt because of their
19   failure to comply with this Court’s January 25, 2021 Order [Dkt. 408] and (ii) thereafter
20   find the government and the prosecutors in civil contempt of this Court’s Order.
21
22   II.   FACTUAL BACKGROUND
23
           A.     The Court’s January 25, 2021 Order
24
25         On January 25, 2021, the Court granted Mr. Avenatti’s motion [Dkt. 398] over the
26   objection of the government and issued an Order directing the government to, among
27   other things, produce to the defense “all information or evidence known to the
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 1    government that is either: (1) relevant to the defendant’s guilt or punishment; or (2)
 2    favorable to the defendant on the issue of guilt or punishment.” [Dkt. 408] (emphasis
 3    added). Importantly, in opposing Mr. Avenatti’s motion seeking the order, the
 4    government argued in its opposition that such an order, if entered by the Court, would
 5    require disclosure to the defense that is more expansive than the parameters of Brady v.
 6    Maryland, 373 U.S. 83 (1963). See Dkt. 405, p.2, fn. 1. Despite this argument, the
 7    Court correctly issued the Order.3
 8
            B.     The Government’s Admissions Regarding the Meaning and
 9                 Requirements of the Order
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            On January 28, 2021, three days after the issuance of the Order, in a letter
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      addressed to Chief Judge Sidney R. Thomas of the U.S. Court of Appeals for the Ninth
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      Circuit, the government (through Tracy L. Wilkinson, the Acting U.S. Attorney for this
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      District, as well as other U.S. Attorneys) argued that the language of a proposed order
14
      identical to that in the Order “orders the production of material far beyond what is
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      required under Brady and its progeny.” See Steward Decl., ¶ 3. The government further
16
      claimed that under the language, the government is “required to produce all information
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      relevant to the crime, regardless whether the material is exculpatory or helpful to the
18
      defense, even if the material is wholly inculpatory” (emphasis in original). Id. The
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      government also acknowledged that under the language, the government is required to
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      “produce every witness statement, regardless of whether that witness testifies against the
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      defendant.” Id. In that same letter, the government admitted that the language “orders
22
      the production of information regardless of its materiality.” Id. To be clear, these are
23
      the exact words and official position of the office prosecuting this case, as stated in
24
      writing to the Chief Judge of the Ninth Circuit within days after the issuance of the
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      Order in this case. Accordingly, the government cannot now claim that they did not
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      3
27     District court judges always have the ability to order discovery greater than the absolute
      minimums required under the law. See, e.g., U.S. v. W.R. Grace, 526 F.3d 499, 510 (9th Cir.
28    2008).
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 1    understand the meaning of the Order, the Order requires something different, or that the
 2    Order’s requirements are less exacting. Moreover, over six weeks have now passed and
 3    the government has not made any effort to seek revocation, reconsideration or
 4    clarification of the Order. See Steward Decl., ¶ 4. Indeed, any such effort would fail as
 5    a matter of law as the government would be unable to show any new material difference
 6    in fact or law sufficient to satisfy the stringent requirements of Local Civil Rule 7-18
 7    (Motion for Reconsideration), which is applicable in this criminal proceeding pursuant to
 8    Local Criminal Rule 57-1.4
 9
            C.     The Government’s Deficient Response to The Order
10
11          In the weeks that followed the issuance of the Order, the government produced no
12    additional information to the defense. As a result, on February 17, 2021, counsel for Mr.
13    Avenatti sent a letter directed to Mr. Fox, copied to AUSAs Brett Sagel and Julian
14    Andre, requesting that the government “immediately and fully comply with (1) the
15    Court’s Order issued [] on January 25, 2021 at Docket No. 408; (2) its obligations under
16    Brady v. Maryland; and (3) its obligations pursuant to Rule 16.” The defense further
17    requested that the government comply by March 5, 2021. See Steward Decl., ¶ 5.
18          Rather than fully comply with the Order and the defense’s request, the
19    government instead produced a mere 67 pages of additional materials last week. See
20    Steward Decl., ¶ 6. These materials included information in the possession of the
21
      4
22      The defense anticipates that instead of unequivocally stating that the government has fully
      complied with the Order, the government will instead attempt to reargue the propriety and
23    scope of the Order in its opposition to this motion. Any such attempt is improper and should be
      soundly rejected by the Court. The government had ample opportunity to oppose the prior
24
      motion [Dkt. 398] and in fact filed an opposition [Dkt. 405] before issuance of the Order [Dkt.
25    408]. The government also had the opportunity to timely seek reconsideration of the Order if
      they believed they could meet the legal requirements of the local rules and yet chose not to.
26    This was not a mere oversight - it was a tactical, strategic decision made by the government.
27    As a result, the government should not be heard to complain now about the plain language and
      import of the Order.
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 1    government that should have been produced long ago pursuant to the government’s
 2    Brady and Rule 16 obligations. See id. Moreover, the production of these documents
 3    demonstrates that the government’s prior and repeated oral and written representations to
 4    this Court and the defense over the last eighteen months that all Brady and Rule 16
 5    material had long ago been produced, including those made when opposing the issuance
 6    of the Order [Dkt. 405], were false. Id. Equally important, as of the date of this motion,
 7    the government has refused to state that it has complied with the clear requirements of
 8    the Order. Id.
 9           Included among the materials were emails by a government witness5 that were
10    provided to the prosecution team in January 2020 describing Mr. Avenatti as a “boy
11    scout” and further stating that the witness “never saw nor heard any illegal nor
12    questionable acts that would cause any distrust in approximately 5 years . . . he never
13    once asked me to do anything illegal nor unethical.” USAO_01141176-77. See Steward
14    Decl., ¶ 7.
15           The government also produced photographs of exculpatory text messages relating
16    to the charges in the indictment that appear to have been acquired by the prosecution
17    team from various government witnesses in the Fall of 2018 and yet were not previously
18    provided to the defense. USAO_01141220-25. And the government produced criminal
19    history reports relating to two of the alleged client victims in this case that show felony
20    charges for, among other things, diversion of funds, obtaining money under false
21    pretenses, obstructing/resisting a police officer, and rape. USAO_01141227-238. See
22    Id.
23
24    III.   ARGUMENT
25           A.     Legal Standard for Contempt
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      5
27     The government listed the individual as a witness in this case within the last year and also
      subpoenaed him to testify before the grand jury. See Steward Decl., ¶ 7.
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 1          This Court has the inherent power to enforce compliance with its lawful orders
 2    through civil contempt. See Shillitani v. United States, 384 U.S. 364, 370 (1966); see
 3    also Young v. United States, 481 U.S. 787, 793 (1987); SEC v. Bilzerian, 112 F. Supp.
 4    2d 12, 16 (D.D.C. 2000); SEC v. Bankers Alliance Corp., 881 F. Supp. 673, 678 (D.D.C.
 5    1995). A party commits contempt when it violates a definite and specific court order
 6    that requires it to perform a particular act, with knowledge of the court’s order. See In re
 7    Crystal Palace Gambling Hall, Inc., 817 F.2d 1361, 1365 (9th Cir. 1987); SEC v. First
 8    Financial Group of Texas, Inc., 659 F.2d 660, 669 (5th Cir. 1981).
 9          In civil contempt, a defendant can purge himself of contempt at any time.
10    Shillitani, 384 U.S. at 370-71. In this way, civil contempt is “wholly remedial” and is
11    not intended to be punitive. Rather, it is meant to coerce compliance with an order of the
12    court. See Int’l Union, United Mine Workers of America v. Bagwell, 512 U.S. 821, 827
13    (1994) (“Civil contempt sanctions, or those penalties designed to compel Future
14    compliance with a court order, are considered to be coercive and avoidable through
15    obedience.”); McComb v. Jacksonville Paper Co., 336 U.S. 187, 191 (1949); cf.
16    Bagwell, 512 U.S. at 829 (expanding remedial purposes to include losses sustained, not
17    merely future compliance).
18          To make a prima facie showing of civil contempt, Mr. Avenatti must show only
19    that the government failed to comply with a valid court order. See United States v.
20    Rylander, 460 U.S. 752, 755 (1983); FTC v. Affordable Media, LLC, 179 F.3d 1228,
21    1239 (9th Cir. 1999). Civil contempt “may be imposed in an ordinary civil proceeding
22    upon notice and an opportunity to be heard. Neither a jury trial nor proof beyond a
23    reasonable doubt is required.” Bagwell, 512 U.S. at 827; see also Penfield Co. of Cal. v.
24    SEC, 330 U.S. 585, 590 (1947). Once a prima facie case has been shown, the burden is
25    on the alleged contemnor to justify its noncompliance “categorically and in
26    detail.” Rylander, 460 U.S. at 755. In addition, in civil contempt proceedings, intent is
27    not an issue. Donovan v. Mazzola, 716 F.2d 1226, 1240 (9th Cir. 1983); Jim Walter
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 1    Resources, Inc. v. International Union, UMW, 609 F.2d 165, 168 (5th Cir. 1980). The
 2    absence of intent does not excuse civil contempt because it is a sanction to enforce
 3    compliance with an order of the court, and therefore is not dependent on the state of
 4    mind of the respondent. Even good faith on the part of the defendant is no defense.
 5    Donovan, 716 F.2d at 1240. Indeed, civil contempt may be established even though the
 6    failure to comply with a court order was unintentional. Perry v. O’Donnell, 759 F.2d
 7    702, 705 (9th Cir. 1985).
 8           B.     The Government Is In Contempt of the Court’s Order
 9           Despite the clear requirements of the Court’s Order, and the Court warning the
10    government in the Order of the severe consequences for non-compliance, it is readily
11    apparent that the government has not complied with the Order. See Steward Decl., ¶ 9.
12    Indeed, the government cannot seriously claim that the 67 pages of documents is the
13    only information responsive to the Order that was not previously produced. Nor can the
14    government assert that they have produced “all information and evidence known to the
15    government that is either: (1) relevant to the defendant’s guilt or punishment; or (2)
16    favorable to the defendant on the issue of guilt or punishment.” (emphasis added).6
17           Even though it is impossible for the defense to know the totality of what has not
18    been produced by the government, by way of example only, and there are many, the
19    government has failed to produce, among other things, (a) exculpatory financial
20    information relating to fees and expenses due Mr. Avenatti and his law firm from the
21    alleged victim clients (including but not limited to all invoices and expense information);
22    (b) exculpatory information relating to other work performed by Mr. Avenatti for one or
23    more of the alleged victim clients which entitled him to attorney’s fees and costs; (c)
24
      6
25      In opposition to this motion, the government will be unable to state, unequivocally and under
      penalty of perjury, that they have produced “all information and evidence known to the
26    government that is either: (1) relevant to the defendant’s guilt or punishment; or (2) favorable
27    to the defendant on the issue of guilt or punishment” as required under the clear language of the
      Order.
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                                                      8
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 1    exculpatory information provided by Mr. Avenatti’s ex-wife Christine Carlin and her
 2    counsel to AUSAs Sagel and Andre last year;7 (d) all of the communications between the
 3    government and its 67 government witnesses;8 (e) all of the documents provided to the
 4    government by its 67 government witnesses; and (f) the notes from various meetings
 5    with its 67 witnesses.9 See Steward Decl., ¶ 9. Again, to be clear, this is not an
 6    exhaustive list of what the government has failed to produce and how the government
 7    has failed to comply with its obligations under the Order – they are mere examples.
 8
      7
 9      Mrs. Carlin is referenced in the complaint [Dkt. 1] and has also been repeatedly referred to by
      the government as a witness, including on the May 2020 list referenced in fn. 8 infra. She was
10
      subpoenaed to testify before the grand jury in this case in 2019 and subsequently sat for an
11    interview with AUSAs Sagel and Andre on July 25, 2019. The government later produced a
      “Memorandum of Interview” allegedly from the July 25, 2019 interview to the defense on
12    October 5, 2019 (USAO_00173598). The defense has recently learned that the government
13    provided written questions to Mrs. Carlin, through her counsel, last Spring (2020) as a follow-
      up to their prior interview. The defense has also learned that during a subsequent conference
14    call with Mrs. Carlin’s counsel last year, the government was confronted with the fact that (a)
      statements they attributed to her in their Memorandum of Mrs. Carlin’s July 25, 2019 interview
15
      were not accurate (i.e. the memo did not reflect what the government was actually told during
16    the interview) and (b) the government’s representations made to the defense and the Court that
      Mrs. Carlin had informed them that Mr. Avenatti did not owe Mrs. Carlin money when he made
17    payments to her, including while on bond, were demonstrably false. Despite repeated requests,
18    the government refuses to provide the written questions they provided to Mrs. Carlin’s counsel
      or the subsequent responses/notes from their follow-up interview, which occurred
19    approximately one year ago. See Steward Decl., ¶¶ 11-12. The government appears to now be
      attempting to claim, as part of its effort to avoid producing exculpatory information that is
20
      damaging to the government and should have been produced long ago, that Mrs. Carlin, after
21    having been a witness for the last two years, is suddenly no longer a witness and therefore they
      can withhold the exculpatory information. See Id.
22
      8
       Last year, the government provided the defense with a document entitled “United States v.
23    Avenatti, SA CR No. 19-061-JVS (C.D. Cal.); Government’s Victim and Witness List; May 15,
24    2020,” which lists 67 individuals. See Steward Decl., ¶ 10.

25    9
        Even though certain 302s and memoranda of interviews have been provided, the government
      has not produced all of its 302s and memoranda, nor has the government provided all of the
26
      handwritten notes taken in real time in advance of preparation of the 302s and memoranda. See
27    Steward Decl., ¶ 13. This information is required to be produced, especially because some of it
      is likely exculpatory.
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                                                      9
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 1          Moreover, the government’s failure to comply with the Order is even more
 2    egregious seeing as much of this information should have been produced long ago
 3    pursuant to Brady and/or Rule 16. Worse yet, these failures have occurred despite recent
 4    decisions by the Ninth Circuit finding significant high-profile Brady violations by
 5    prosecutors in the Central District of California. See, e.g., U.S. v. Obagi, 965 F.3d 993,
 6    996 (9th Cir. 2020) (prosecutors failed to disclose an immunity agreement with a witness
 7    while telling the jury in closing that the witness “had no agreement” and should therefore
 8    be believed.); U.S. v. Bundy, 968 F.3d 1019, 1028 (9th Cir. 2020) (upholding a dismissal
 9    as a result of a Brady violation in one of the most watched trials in the country where the
10    defendants “sought materials showing the presence of armed officers in tactical gear
11    taking positions around the Bundy Ranch” and other related evidence, the government
12    called it a “fantastical fishing expedition,”10 and the information was later discovered to
13    exist). Further, Rule 16 requires prosecutors to disclose any information to the defense
14    that may assist the defense in preparing a defense even if such information is not itself
15    admissible. See, e.g., U.S. v. Hernandez-Meza, 720 F.3d 760, 768 (9th Cir. 2013)(Rule
16    16(a)(1)(E) requires disclosure of any relevant information that “would have helped
17    [defendant] prepare a defense . . . even if it simply causes a defendant to ‘completely
18    abandon’ a planned defense and take an entirely different path”); see also U.S. v. Soto-
19    Zuniga, 837 F.3d 992 (9th Cir. 2016) (noting that Rule 16 requires the production of any
20    documents or data that “may assist [a defendant] in formulating a defense, including
21    leading to admissible evidence.”). And where doubt exists as to the usefulness of the
22    evidence to the defendant, the government must resolve all such doubts in favor of full
23    disclosure. See United States v. Paxson, 861 F.2d 730, 737 (D.C. Cir. 1988).
24          The Order issued by this Court was exactly as titled – AN ORDER. And the
25    government was required to fully comply with it, which clearly has not occurred.
26
      10
27      Nearly identical language has been used by the government in this case to describe requests
      for information and discovery made by the defense.
28
                                                    10
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 1    IV.   CONCLUSION
 2          Sunlight is the best disinfectant and no court can do justice until it knows the truth.
 3    To maintain any measure of trust and credibility in our law enforcement institutions, the
 4    government must be held to the highest standards. See, e.g., United States. v. Harvey,
 5    791 F.3d 294, 300 (4th Cir. 1986) (citation omitted). “[C]oncerns for the honor of the
 6    government, public confidence in the fair administration of justice, and the effective
 7    administration of justice in a federal scheme of government” demand it. Id.
 8          For each of the reasons set forth above, Mr. Avenatti respectfully requests that this
 9    Court (i) issue an order to show cause why the government should not be held in civil
10    contempt because of their failure to fully comply with this Court’s January 25, 2021
11    Order and (ii) thereafter find the government in civil contempt.
12

13    Dated: March 8, 2021                   Respectfully submitted,
14
                                             /s/ H. Dean Steward
                                             H. DEAN STEWARD
15
16                                           Attorney for Defendant
                                             MICHAEL JOHN AVENATTI
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 1
                                   CERTIFICATE OF SERVICE

 2          I, H. Dean Steward, am a citizen of the United States, and am at least 18 years of
 3
      age. My business address is 107 Avenida Miramar, Ste. C, San Clemente, CA 92672. I
 4
 5    am not a party to the above-entitled action. I have caused, on March 8, 2021, service of

 6    the defendant’s:
 7
         MOTION FOR AN ORDER TO SHOW CAUSE RE CIVIL CONTEMPT AND A
 8                         FINDING OF CONTEMPT

 9    on the following party, using the Court’s ECF system:
10
      AUSA BRETT SAGEL AND AUSA ALEXANDER WYMAN
11
      I declare under penalty of perjury that the foregoing is true and correct.
12

13    Executed on March 8, 2021
14
                                              /s/ H. Dean Steward
15
                                              H. Dean Steward
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